                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TENNESSEE
                                GREENEVILLE DIVISION

 B.P., et al.,

                 Plaintiffs,

 v.                                                     No: 2:23-cv-00071-TRM-JEM



 CITY OF JOHNSON CITY, TENNESSEE, et al.,

               Defendants.
         __________________________________/

                         DECLARATION OF VANESSA BAEHR-JONES

 I, VANESSA BAEHR-JONES, declare under penalty of perjury that the foregoing is true and

 correct:

      1. I am over twenty-one years of age and am competent in all respects to give this

         Declaration. This Declaration is given freely and voluntarily. I have personal knowledge

         of the foregoing matter and could, and would, testify competently thereto under penalty

         of perjury.

      2. I am lead counsel for Plaintiffs B.P., et al., in the above-referenced case. I am a licensed

         attorney in good standing in the State of California (CABN 281715) and admitted to

         appear pro hac vice in this District.

      3. Attached hereto as Exhibit 1 is Plaintiffs’ sur-reply to Defendant Peters’ reply in support

         of his supplemental motion for attorneys’ fees.

      4. On May 21, 2024, Plaintiffs received an email from their ESI vendor that additional,

         potentially relevant data was identified on B.P.’s device.


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    5. I coordinated with B.P. at the outset of the litigation, and on additional occasions as the

        case progressed, to search for and collect documents. Those efforts should have, but did

        not, identify the text message at issue. Based on assurances from their ESI vendor,

        Plaintiffs believe that all responsive, non-privileged documents from B.P. have been

        produced.

 This is the 17th day of June 2024.

                                              /s/ Vanessa Baehr-Jones
                                              VANESSA BAEHR-JONES




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                                 CERTIFICATE OF SERVICE

 I HEREBY certify that a copy of the foregoing has been filed and served via the court's
 electronic filing system on June 17, 2024, to counsel of record:

 K. Erickson Herrin                                Daniel H. Rader III
 HERRIN, McPEAK & ASSOCIATES                       Daniel H. Rader IV
 515 East Unaka Avenue                             MOORE, RADER & YORK PC
 P. O. Box 629                                     46 N. Jefferson Avenue
 Johnson City, TN 37605-0629                       P.O. Box 3347
 lisa@hbm-lawfirm.com                              Cookeville, TN 38502-3347
 sandy@hbm-lawfirm.com                             danrader@moorerader.com
                                                   danny@moorerader.com
 Emily C. Taylor
 Maria Ashburn                                     Counsel for Kevin Peters in his individual
 WATSON, ROACH, BATSON &                           capacity
 LAUDERBACK, P.L.C.
 P.O. Box 131                                      Kristin Ellis Berexa
 Knoxville, TN 37901-0131                          Ben C. Allen
 etaylor@watsonroach.com                           FARRAR BATES BEREXA
 mashburn@watsonroach.com                          12 Cadillac Drive, Suite 480
                                                   Brentwood, TN 37027-5366
 Attorneys to Defendants, Johnson City,            kberexa@fbb.law
 Tennessee, Karl Turner, in his individual and ballen@fbb.law
 official capacities, Captain Kevin Peters, in his jdowd@fbb.law
 official capacity, and Investigator Toma Sparks,
 in his official capacity                          Counsel for Toma Sparks in his individual
                                                   capacity
 Jonathan P. Lakey
 Burch, Porter, & Johnson, PLLC                    Keith H. Grant
 130 N. Court Ave.                                 Laura Beth Rufolo
 Memphis, TN 38103 9                               Robinson, Smith & Wells, PLLC
 01-524-5000                                       633 Chestnut Street, Suite 700
 jlakey@bpjlaw.com                                 Chattanooga, TN 37450
 mchrisman@bpjlaw.com                              kgrant@rswlaw.com
                                                   lrufolo@rswlaw.com
 Attorney to Defendant City of Johnson City,       awells@rswlaw.com
 Tennessee
                                                   Counsel for Justin Jenkins in his individual
                                                   capacity, Jeff Legault in his individual capacity
                                                   and Brady Higgins in his individual capacity


                                                      /s/ Elizabeth A. Kramer
                                                      Elizabeth A. Kramer



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